













Opinion issued June 15, 2006








In The
Court of Appeals
For The
First District of Texas
____________

NO. 01-06-00277-CV
____________

TRACY HARDY, Appellant

V.

11702 MEMORIAL, LTD., THOMAS NOONS AND BRITISH AMERICAN
PROPERTIES OF HOUSTON, INC., Appellees




On Appeal from the County Civil Court at Law No. 2
Harris County, Texas
Trial Court Cause No. 744,610




MEMORANDUM OPINION
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The parties have filed a joint motion to dismiss their appeal.  No opinion has
issued.  Accordingly, the motion is granted, and the appeal is dismissed.  Tex. R.
App. P. 42.1(a)(2).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;All other pending motions in this appeal are overruled as moot.  The Clerk is
directed to issue mandate within 10 days of the date of this opinion.  Tex. R. App. P.
18.1.
PER CURIAM
Panel consists of Justices Jennings, Hanks, and Higley.


